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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                              )
SHEET METAL WORKERS’ INTERNATIONAL                            )
ASSOCIATION, LOCAL NO. 73,                                    )
                                                              ) Case No.:
               and                                            )
                                                              )
THE TRUSTEES of the SHEET METAL WORKERS                       ) Judge:
LOCAL NO. 73 PENSION FUND, SHEET METAL                        )
WORKERS LOCAL NO. 73 WELFARE FUND; and                        )
SHEET METAL WORKERS LOCAL NO. 73                              ) Magistrate Judge:
ANNUITY FUND,                                                 )
                                                              )
               Plaintiffs,                                    )
v.                                                            )
                                                              )
NOBLE AIR, LLC and GREG SHOWAN,                               )
Individually,                                                 )
                                                              )
               Defendants.                                    )



                                          COMPLAINT

       Plaintiffs, SHEET METAL WORKERS LOCAL NO. 73 (hereinafter “Plaintiff Union”)

and THE TRUSTEES of the SHEET METAL WORKERS LOCAL NO. 73 PENSION FUND,

SHEET METAL WORKERS LOCAL NO. 73 WELFARE FUND and SHEET METAL

WORKERS LOCAL NO. 73 ANNUITY FUND (collectively “Plaintiff Funds”) by and through

their attorneys at Gregorio & Marco, Ltd., bring the following action against NOBLE AIR, LLC,

an Illinois Limited Liability Corporation and GREG SHOWAN, individually (collectively

“Defendants”). In support, the Plaintiffs state as follows:




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                                 Count I (Contribution Reports)

        1.      This action arises under Section 502 of the Employee Retirement Income Security

Act of 1974, 29 U.S.C. §1132 et seq. (hereinafter referred to as "ERISA") and Section 301 of the

Taft-Hartley Act, 29 U.S.C. §185. Jurisdiction is founded on the existence of questions arising

thereunder.

        2.      The Plaintiff Funds are multiemployer plans as defined under 29 U.S.C. § 1002.

Their principal offices are located at 4550 Roosevelt Road, Hillside, Illinois, within the Northern

District of Illinois.

        3.      The Defendant Noble Air, LLC (“Noble Air”) is an employer engaged in the sheet

metal industry. Its principle office is located at 6652 W. 88th Street, Oak Law, Illinois, and is

within the Northern District of Illinois.

        4.      The Plaintiff Funds receive contributions from numerous employers pursuant to

Collective Bargaining Agreements between the employers and the Plaintiff Union.

        5.      On December 11, 2007, Noble Air executed a Supplemental Agreement

(hereinafter “Agreement”) with the Sheet Metal Workers’ Union, Local No. 73 and other

documents acknowledging receipt of a Collective Bargaining Agreement (hereinafter “CBA”)

and acknowledging the Agreement and Declaration of Trust, true and correct copies of which are

attached hereto as Exhibit A. By its terms, the Supplemental Agreement between Noble Air and

the Union adopted the terms of the CBA. The CBA binds Noble Air to the terms of the Trust

Agreements which created the Plaintiff Funds.

        6.      The CBA requires Noble Air to contribute to the Plaintiff Funds and binds

Dynamic Air to the plan’s governing documents, including the Trust Agreement. The Trust

Agreement requires the Noble Air to submit monthly reports listing the hours worked by its



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bargaining unit employees (hereinafter referred to as "monthly contribution reports"). Noble Air

is also required to make concurrent payment of contributions to the Plaintiff Funds based upon

the hours worked by said employees.

       7.      Noble Air has breached its obligations under the Trust Agreement and the CBA

by failing to pay monthly contributions for the months of October 2019 through the present.

       8.      Plaintiffs have requested that Noble Air become current and perform its

obligations listed above, but Defendant has failed and refused to so perform.

       9.      As an employer obligated to make fringe benefit contributions to the Funds,

Noble Air is specifically obligated to compensate Plaintiffs for the additional administrative

costs and burdens imposed by Noble Air’s failure to submit reports or pay contributions, by

paying liquidated damages on the whole amount of any contributions remaining unpaid, together

with interest, as provided in 29 U.S.C. §1132(g)(2)(B).

       10.     As an employer obligated to make fringe benefit contributions to the Funds,

Noble Air is specifically obligated to pay Plaintiff’s reasonable attorneys’ fees and costs

necessarily incurred in the prosecution of any action to recover delinquent contributions, as

provided in 29 U.S.C. §1132(g)(2)(D).

       11.     Pursuant to 29 U.S.C. §1132(g)(2)(C), Plaintiffs are entitled to an amount equal to

the greater of a) double interest on the unpaid contributions or b) interest plus liquidated

damages provided for under the Trust Agreements not in excess of 20% of the amount due.



WHEREFORE, Plaintiffs pray:
       A.      That the Defendant, Noble Air, LLC be ordered to submit the reports and all
               contributions shown to be due for the time period of October 2019 to the present
               pursuant 29 U.S.C. §§1132(g)(A), 1145;
       B.      That Noble Air, LLC be ordered to pay interest on any contributions found to be

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               due from the reports referenced in Count I pursuant to 29 U.S.C. §1132(g)(2)(B);
       C.      That Noble Air, LLC be ordered to pay liquidated damages on any delinquent
               contributions found to be due from the reports referenced in Count I pursuant to
               29 U.S.C. §1132(g)(2)(C);
       D.      That Noble Air, LLC be ordered to pay the late assessments found to be due from
               the reports referenced in Count I pursuant to 29 U.S.C. §1145.
       E.      That Noble Air, LLC be ordered to pay the reasonable attorney fees and costs
               incurred by the Plaintiffs referenced in Count I pursuant to 29 U.S.C.
               §1132(g)(2)(D);
       F.      That Plaintiffs be granted such other relief as the Court deems just and equitable.


                     COUNT II – Noble Air, LLC – (Breach of Contract)


       12.     The Plaintiffs re-allege its' allegations in paragraphs 1-11 of Count I of the

complaint.


       13.     This action arises under the Court’s Supplemental Jurisdiction, pursuant to 28

U.S. Code § 1367(a) as the Court has original jurisdiction of Count I and the claims in Count II

are so related to the Claims in Count I that they form part of the same case and controversy.


       14.     The Defendant, Noble Air, entered into a Settlement Agreement & Payment Plan,

hereafter (“Agreement”), with the Plaintiffs. A true and correct copy of the Agreement is

attached as Exhibit B.


       15.     Pursuant to the terms of the Agreement, defendant Noble Air was required to

remit certain fringe benefit contributions, interest, liquidated damages, and fees to the Plaintiffs

pursuant to a payment schedule.




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       16.     The defendant, Noble Air breached the provisions of the Agreement by failing to

pay amounts due under the Agreement. Noble Air was given notice of the default and failed to

cure the default within the timeframe required.

       17.     As of the date of this complaint, Noble Air has not cured the delinquency.

       18.     Since Noble Air is in default of the Settlement Agreement, the remaining balance

is immediately due and owing.

       19.     Noble Air agreed to pay the Plaintiffs’ attorneys’ fees and costs in enforcing the

Settlement Agreement. (Exhibit B ¶6).

WHEREFORE, Plaintiffs pray as follows:

               A. Defendant, Noble Air be ordered to pay the remaining balance owed under the

                    settlement agreement.

               B. That Plaintiffs be awarded their reasonable attorneys’ fees.

               C. That Plaintiffs be granted such other relief as the Court deems just and

                    equitable.

                      COUNT III – Greg Showan – (Breach of Contract)


       20.     The Plaintiffs re-allege its' allegations in paragraphs 1-19 of Count I and Count II

of the complaint.


       21.     This action arises under the Court’s Supplemental Jurisdiction, pursuant to 28

U.S. Code § 1367(a) as the Court has original jurisdiction of Count I and the claims in Count III

are so related to the Claims in Count I that they form part of the same case and controversy.




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       22.     The Defendant, Greg Showan is an individual residing in the County of Cook,

Illinois, who entered into a Settlement Agreement & Payment Plan, hereafter (“Agreement”),

with the Plaintiffs. A true and correct copy of the Agreement is attached as Exhibit B.



       23.     Pursuant to the terms of the Agreement, defendant Noble Air, LLC was required

to remit certain fringe benefit contributions, interest, liquidated damages, and fees to the

Plaintiffs pursuant to a payment schedule.


       24.     Pursuant to the Agreement at Paragraph 9, the defendant Greg Showan agreed to

be personally liable, individually and/or jointly liable for all amounts owed under the Agreement

should Noble Air, LLC default on the Agreement.


       25.     The defendant, Noble Air, LLC breached the provisions of the Agreement by

failing to pay amounts due under the Agreement. Noble Air, LLC was given notice of the default

and failed to cure the default within the timeframe required.


       26.     As a result of the default, the Defendant, Greg Showan, is personally liable to the

Plaintiffs for the balance of the amount owed under the Agreement, plus interest, attorney’s fees

and costs.



       WHEREFORE, Plaintiffs pray:

       A.      That Greg Showan be ordered to pay the balance of the Agreement;

       B.      That Greg Showan be ordered to pay all attorney fees and costs incurred by the
               Plaintiffs.

       C.      That the Greg Showan be ordered to pay interest owed under the balance of the
               Agreement.

       D.      That Plaintiffs have such other and further relief as by the Court may be deemed
               just and equitable all at the Defendant's cost.



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                                              Respectfully submitted,
                                              Sheet Metal Workers International
                                              Association, Local No. 73, et.al.


                                              BY:/s/ Michael J. McGuire_________
                                                     One of their attorneys

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